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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                         )
             In re:                                                      )   Chapter 11
                                                                         )
             NORTHWEST HARDWOODS, INC., et al.,1                         )   Case No. 20-13005 (CSS)
                                                                         )
                                                       Debtors.          )   (Jointly Administered)
                                                                         )


                         NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED
                           FOR HEARING ON JANUARY 6, 2021 AT 11:00 A.M. (ET)


                                   The hearing will be conducted via Zoom and CourtCall.

             Any party that wishes to participate in the Hearing must make arrangements through CourtCall
                               by telephone (866-582-6878) or facsimile (866-533-2946).
                                   If you are planning to speak, please also use Zoom.

                                             Zoom connection details are as follows:

                                          Topic: Northwest Hardwoods 20-13005
                                Time: Jan 6, 2021 11:00 AM Eastern Time (US and Canada)
                                                 Join ZoomGov Meeting
                                            https://debuscourts.zoomgov.com/j/1610156147
                                                     Meeting ID: 161 015 6147
                                                        Passcode: 888567


         RESOLVED MATTERS

         1.           Debtors’ Application for an Order, Pursuant to Section 327(a) of the Bankruptcy Code,
                      Authorizing the Retention and Employment of Young Conaway Stargatt & Taylor, LLP as
                      Co-Counsel to the Debtors, Effective as of the Petition Date [D.I. 108, 12/16/20]

                      Response Deadline:                                  December 30, 2020 at 4:00 p.m. (ET)



         1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
               number, are: Northwest Hardwoods, Inc. (5401), Hardwoods Intermediate Holdings II, Inc. (7760), and
               Hardwoods Holdings, Inc. (3443). The location of the Debtors’ service address in these chapter 11 cases is: 1313
               Broadway, Suite 300, Tacoma, WA 98402.
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               Amended items appear as bolded.
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              Responses Received:                            Informal comments from the Office of the
                                                             United States Trustee

              Related Documents:

              A.        Certification of Counsel [D.I. 135, 12/31/20]

              B.        Supplemental Declaration of Sean M. Beach [D.I. 137, 12/31/20]

              C.        Order [D.I. 141, 1/4/21]

              Status:      The Order has been entered. No hearing is necessary.

         2.   Debtors’ Application for an Order, Pursuant to Section 327(a) of the Bankruptcy Code,
              Authorizing the Retention and Employment of Prime Clerk LLC as Administrative
              Advisor to the Debtors, Effective as of the Petition Date [D.I. 109, 12/16/20]

              Response Deadline:                             December 30, 2020 at 4:00 p.m. (ET)

              Responses Received:                            Informal comments from the Office of the
                                                             United States Trustee

              Related Documents:

              A.        Certification of Counsel [D.I. 136, 12/31/20]

              B.        Order [D.I. 142, 1/4/21]

              Status:      The Order has been entered. No hearing is necessary.

         3.   Application of Debtors for Entry of an Order Authorizing the Retention and Employment
              of Gibson Dunn & Crutcher LLP as Attorneys for the Debtors and Debtors in Possession
              Effective as of the Petition Date [D.I. 114, 12/16/20]

              Response Deadline:                             December 30, 2020 at 4:00 p.m. (ET)

              Responses Received:                            Informal comments from the Office of the
                                                             United States Trustee

              Related Documents:

              A.        Certification of Counsel [D.I. 138, 12/31/20]

              B.        Order [D.I. 143, 1/4/21]

              Status:      The Order has been entered. No hearing is necessary.




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         4.   Application of Debtors for Entry of an Order Authorizing the Retention and Employment
              of Huron Consulting Services LLC as Financial Advisor for the Debtors Effective as of the
              Petition Date [D.I. 110, 12/16/20]

              Response Deadline:                              December 30, 2020 at 4:00 p.m. (ET)

              Responses Received:                             Informal comments from the Office of the
                                                              United States Trustee

              Related Documents:

              A.        Supplemental Declaration of Aaron Kibbey [D.I. 144, 1/4/21]

              B.        Certification of Counsel [D.I. 146, 1/4/21]

              C.        Order [D.I. 148, 1/4/21]

              Status:      The Order has been entered. No hearing is necessary.

         5.   Debtors’ Application to Retain and Employ KPMG LLP as Accounting and Valuation
              Advisor Effective as of the Petition Date [D.I. 111, 12/16/20]

              Response Deadline:                              December 30, 2020 at 4:00 p.m. (ET)

              Responses Received:                             Informal comments from the Office of the
                                                              United States Trustee

              Related Documents:

              A.        Supplemental Declaration of Peter Lyster [D.I. 145, 1/4/21]

              B.        Certification of Counsel [D.I. 147, 1/4/21]

              C.        Order [D.I. 151, 1/4/21]

              Status:      The Order has been entered. No hearing is necessary.

         6.   Application of Debtors for Entry of an Order Authorizing the Retention and Employment
              of Moss Adams LLP as Tax Advisor for the Debtors Effective as of the Petition Date [D.I.
              113, 12/16/20]

              Response Deadline:                              December 30, 2020 at 4:00 p.m. (ET)

              Responses Received:                             Informal comments from the Office of the
                                                              United States Trustee

              Related Documents:

              A.        Supplemental Declaration of Arnie McClellan [D.I. 149, 1/4/21]
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              B.        Certification of Counsel [D.I. 157, 1/4/21]

              C.        Order [D.I. 160, 1/4/21]

              Status:      The Order has been entered. No hearing is necessary.

         7.   Debtors’ Application for Entry of an Order Authorizing Debtors to Retain and Employ
              Miller Nash Graham & Dunn LLP as Special Business Counsel Effective as of the Petition
              Date [D.I. 112, 12/16/20]

              Response Deadline:                              December 30, 2020 at 4:00 p.m. (ET)

              Responses Received:                             Informal comments from the Office of the
                                                              United States Trustee

              Related Documents:

              A.        Supplemental Declaration of R. Gibson Masters [D.I. 158, 1/4/21]

              B.        Certification of Counsel [D.I. 159, 1/4/21]

              C.        Order [D.I. 165, 1/4/21]

              Status:      The Order has been entered. No hearing is necessary.

         UNCONTESTED MATTER WITH CERTIFICATION OF COUNSEL

         8.   Debtors’ Motion for Entry of an Order Authorizing the Submission of an Order Under
              Certification of Counsel Closing Certain of the Chapter 11 Cases [D.I. 128, 12/24/20]

              Response Deadline:                              January 4, 2021 at 10:00 a.m. (ET)

              Responses Received:                             Informal comments from the Office of the
                                                              United States Trustee

              Related Documents:

              A.        Debtors’ Motion for Order Shortening the Time for Notice of Debtors’ Motion for
                        Entry of an Order Authorizing the Submission of an Order Under Certification of
                        Counsel Closing Certain of the Chapter 11 Cases [D.I. 129, 12/24/20]

              B.        Order Shortening the Time for Notice of Debtors’ Motion for Entry of an Order
                        Authorizing the Submission of an Order Under Certification of Counsel Closing
                        Certain of the Chapter 11 Cases [D.I. 131, 12/28/20]

              C.        Certification of Counsel Regarding Revised Proposed Order Authorizing the
                        Debtors to Submit Under Certification of Counsel an Order Closing Certain
                        of the Chapter 11 Cases [D.I. 166, 1/4/21]

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              Status:      The debtors received informal comments from the Office of the United
                           States Trustee, which have been incorporated in revised forms of order
                           and filed under certification of counsel. The order may be entered without
                           further the notice or hearing.

         MATTERS GOING FORWARD

         9.   Combined Disclosure Statement and Confirmation Hearing

              Response Deadline:                            December 30, 2020 at 4:00 p.m. (ET)

              Responses Received:

              A.        Informal comments from the Office of the United States Trustee

              C.        Informal comments from Gadwell

              D.        Informal comments from multiple Texas Taxing Authorities

              E.        Informal comments from the United States Department of Justice

              F.        Informal comments from Chubb/Westchester Fire

              G.        Objection of Harris County to Joint Prepackaged Chapter 11 Plan of Reorganization
                        of Northwest Hardwoods, Inc., and Its Debtor Affiliates [D.I. 126, 12/23/20]

              Related Documents:

              H.        Joint Prepackaged Chapter 11 Plan of Reorganization of Northwest Hardwoods,
                        Inc., and Its Debtor Affiliates [D.I. 15, 11/23/20]

              I.        Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of Reorganization
                        of Northwest Hardwoods, Inc. and Its Debtor Affiliates [D.I. 16, 11/23/20]

              J.        Order (I) Scheduling Combined Hearing on Adequacy of Disclosure Statement and
                        Confirmation of Prepackaged Plan; (II) Fixing Deadline to Object to Disclosure
                        Statement and Prepackaged Plan; (III) Conditionally Approving Prepetition
                        Solicitation Procedures; (IV) Approving the Form and Manner of Notice of the
                        Combined Hearing and Objection Deadline; (V) Approving Notice and Objection
                        Procedures for the Assumption and Rejection of Executory Contracts and
                        Unexpired Leases; (VI) (A) Providing that the United States Trustee Shall Not Be
                        Required to Convene Section 341(a) Meeting of Creditors and (B) Extending the
                        Time for Debtors to File Statements of Financial Affairs and Schedules of Assets
                        and Liabilities and Rule 2015.3 Reports, and Permanently Waiving Requirement to
                        File Same upon Confirmation of the Debtors’ Prepackaged Plan; and (VII) Granting
                        Related Relief [D.I. 64, 11/24/20]

              K.        Notice of (I) Commencement of Prepackaged Chapter 11 Cases, (II) Combined
                        Hearing to Consider (A) Adequacy of Disclosure Statement and (B) Confirmation
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                         of Prepackaged Plan, (III) Assumption and Rejection of Executory Contracts and
                         Unexpired Leases and (IV) Objection Deadlines – and – Summary of Prepackaged
                         Plan [D.I. 68, 11/24/20]

                 L.      Certificate of Publication [D.I. 76, 12/8/20]

                 M.      Notice of Filing of Supplement to the Joint Prepackaged Chapter 11 Plan of
                         Reorganization of Northwest Hardwoods, Inc., and Its Debtor Affiliates [D.I. 116,
                         12/16/20]

                 N.      Notice of Filing of Blacklined Version of Joint Prepackaged Chapter 11 Plan of
                         Reorganization of Northwest Hardwoods, Inc., and Its Debtor Affiliates [D.I. 119,
                         12/20/20]

                 O.      Notice of Filing of Second Supplement to the Joint Prepackaged Chapter 11 Plan
                         of Reorganization of Northwest Hardwoods, Inc., and Its Debtor Affiliates [D.I.
                         122, 12/21/20]

                 P.      Notice of Filing of Blacklined Version of Joint Prepackaged Chapter 11 Plan of
                         Reorganization of Northwest Hardwoods, Inc., and Its Debtor Affiliates [D.I. 132,
                         12/28/20]

                 Q.      Memorandum of Law in Support of an Order (I) Approving the Adequacy of the
                         Disclosure Statement and the Prepetition Solicitation Procedures and (II)
                         Confirming the Second Amended Joint Prepackaged Chapter 11 Plan of
                         Reorganization of Northwest Hardwoods, Inc. and Its Debtor Affiliates [D.I. 150,
                         1/4/21]

                 R.      Notice of Filing of Proposed Confirmation Order [D.I. 151, 1/4/21]

                 S.      Declaration of Nathan Jeppson3 in Support of an Order (I) Approving the Adequacy
                         of the Disclosure Statement and the Prepetition Solicitation Procedures and (II)
                         Confirming the Second Amended Joint Prepackaged Chapter 11 Plan of
                         Reorganization of Northwest Hardwoods, Inc. and Its Debtor Affiliates [D.I. 153,
                         1/4/21]

                 T.      Declaration of Stephen Darr4 in Support of an Order (I) Approving the Adequacy
                         of the Disclosure Statement and the Prepetition Solicitation Procedures and (II)
                         Confirming the Joint Prepackaged Chapter 11 Plan of Reorganization of Northwest
                         Hardwoods, Inc. and Its Debtor Affiliates [D.I. 154, 1/4/21]

                 U.      Declaration of Aaron Kibbey5 in Support of an Order (I) Approving the Adequacy
                         of the Disclosure Statement and the Prepetition Solicitation Procedures and (II)

         3
             The location of the declarant is Bellevue, Washington.
         4
             The location of the declarant is Chester, New Hampshire.
         5
             The location of the declarant is Lawrenceville, New Jersey.
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                             Confirming the Second Amended Joint Prepackaged Chapter 11 Plan of
                             Reorganization of Northwest Hardwoods, Inc. and Its Debtor Affiliates [D.I. 155,
                             1/4/21]

                   V.        Declaration of James F. Daloia6 of Prime Clerk LLC Regarding the Solicitation of
                             Votes and Tabulation of Ballots Cast on the Joint Prepackaged Chapter 11 Plan of
                             Reorganization of Northwest Hardwoods, Inc., and Its Debtors Affiliates [D.I. 156,
                             1/4/21]

                   Status:          This matter is going forward. All responses received and noted above in
                                    subparagraphs A through G have been resolved.

         10.       Debtors’ Motion for Entry of Order (I) Authorizing the Employment and Payment of
                   Professionals Utilized in the Ordinary Course of Business and (II) Granting Related Relief
                   [D.I. 115, 12/16/20]

                   Response Deadline:                                  December 30, 2020 at 4:00 p.m. (ET)

                   Responses Received:

                   A.        Objection of the Office of the United States Trustee [D.I. 140, 1/3/21]

                   Related Documents:                                  None.

                   Status:          This matter is going forward.




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               The location of the declarant is Manhasset, New York.
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             Dated:   January 4, 2021
                      Wilmington, Delaware   /s/ Jacob D. Morton
                                             YOUNG CONAWAY STARGATT & TAYLOR, LLP
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                                             Jacob D. Morton (No. 6684)
                                             Rodney Square
                                             1000 North King Street
                                             Wilmington, Delaware 19801
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                                             Fax: (302) 571-1253
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                                             Counsel to the Debtors and Debtors in Possession




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